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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                                              '
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UNITED STATES OF AMERICA                                                                  .~-:·:~:;::.:-:=:-~-~-JJ

                -v-                                            15 CR 00176 (KMK)

CHRISTIAN MINAYA,


Karas, J.

                  ORDER ACCEPTING THE PLEA ALLOCUTION BEFORE
                            A U.S. MAGISTRATE JUDGE

        On January 5, 2016, United States Magistrate Judith C. McCarthy presided over the plea
allocution in the above captioned matter and reported and recommended that the named defendant's
plea of guilty be accepted. The Court having reviewed the transcript ofthe allocution, the charging
papers, and all other pertinent parts of the record, finds that the plea accords with the requirements
ofRule 11 ofthe Federal Rules ofCriminal Procedure. Accordingly, the Court adjudges defendant
guilty of the offense(s) to which the guilty plea was offered. The Clerk is directed to enter the plea.


                                               SO ORDERED:




Dated: January ;J./ , 2016
       White Plains, NY
